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                                                                            UNITED STATES DISTRICT COURT

                                                                              FOR THE DISTRICT OF ALASKA
                                                 GARY EDDY,

                                                                          Plaintiff,

                                                  vs.

                                                 UNITED STATES OF AMERICA,

                                                                          Defendant.             Case No. 3:10-cv-


                                                                                       COMPLAINT

                                                        Plaintiff, Gary Eddy, by and through his attorneys, Michael Flanigan and Paula M.
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                  Anchorage, Alaska 99501
                    Phone 907-279-9999




                                                Jacobson, states as follows:
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                                                                                       Jurisdiction

                                                        1.    At all times relevant hereto, Gary Eddy was a resident of Juneau, Alaska in

                                                the District of Alaska.

                                                        2.    This cause of action arises under the Federal Tort Claims Act, 28 U.S.C. §

                                                1346, 2401, and 2671 et seq. (FTCA) and 25 U.S.C. § 450f



                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                                  Page 1


                                                    Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 1 of 8
                                                       3.     Southeast Alaska Regional Health Consortium Medical Clinic (SEARHC),

                                                was established under the Indian Self-Determination and Educational Assistance Act, as a

                                                tribal health consortium serving Alaska Natives in Southeast Alaska.

                                                       4.     SEARHC is staffed by employees, contractors and/or agents, all of whom

                                                were acting in their scope of employment at the time of the events described herein.

                                                       5.     The Alaska Native Tribal Health Consortium (ANTHC) and the South

                                                Central Foundation are health organizations established under the Indian Self-

                                                Determination and Educational Assistance Act, as tribal health consortiums serving Alaska

                                                Natives in Southcentral Alaska.

                                                       7.     The ANTHC and the South Central Foundation jointly own and manage the

                                                Alaska Native Medical Center (ANMC).

                                                       8.     ANMC is staffed by employees, contractors and/or agents who were acting

                                                in their scope of employment at the time of the events described herein.
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                                                       9. Any civil action against a tribal organization, or one of its employees acting
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                                                within the scope of employment, for tort claims resulting from the carrying out of an

                                                Indian Self-Determination and Educational Assistance Act [FN2] ("ISDEA") contract

                                                "shall be deemed to be an action against the United States" under the FTCA, Department

                                                of the Interior and Related Agencies Appropriations Act of 1991, Pub. L. No. 101- 512,

                                                Title III, § 314, 104 Stat. 1915, 1959 (Nov. 5, 1990) (codified as amended at 25 U.S.C. §

                                                450f note) [hereinafter Section 314].


                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                                   Page 2


                                                    Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 2 of 8
                                                       10. Therefore, the following described claims are properly brought against the

                                                Defendant, under the Federal Tort Claims Act (FTCA).

                                                       11.    More than six months ago, Plaintiff presented an administrative claim,

                                                setting forth the claims contained herein, to the United States Department of Health and

                                                Human Services, Indian Health Service; SEARHC; the Alaska Native Tribal Health

                                                Consortium; South Central Foundation, and ANMC.

                                                       11.    Those agencies have failed to make a final disposition of the claims within

                                                that six-month period. Plaintiff has deemed such failure to be a denial of the claims

                                                pursuant to 28 U.S.C. § 2675. Thus Plaintiff has exhausted his administrative remedy.

                                                       12.    Based on Paragraphs 1-11 above, this court has jurisdiction over the claims

                                                alleged herein.

                                                                                 Allegations of Negligence

                                                       13.    Plaintiff re-alleges the allegations stated in Paragraphs 1-12 above.
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                                                       14.    On November 27, 2006, plaintiff presented to the SEARHC clinic suffering
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                                                from lower back, buttock, groin, and thigh pain, which he stated was unrelieved by

                                                medication. Plaintiff also complained of numbness in his groin and buttocks. SEARHC

                                                medical personnel did not order an MRI to determine the cause of plaintiff’s continued

                                                complaints and symptoms.

                                                       15.    On November 28, 2006, plaintiff presented to the SEARHC clinic still

                                                complaining of pain and numbness in his lower back, buttock, groin, and thigh. SEARHC


                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                                     Page 3


                                                    Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 3 of 8
                                                medical personnel did not order an MRI to determine the cause of plaintiff’s continued

                                                complaints and symptoms.

                                                       16.    On November 29, 2006, plaintiff once again presented to the SEARHC clinic

                                                complaining of pain in his lower back, buttock, groin, and thigh. He also complained of “a

                                                lot of numbness in his left lower leg”. He told the SEARHC health care provider that he

                                                had no feeling when he urinated. The provider noted that plaintiff had decreased sensation

                                                to touch over his left lower extremity. SEARHC medical personnel did not order an MRI

                                                to determine the cause of plaintiff’s continued complaints and symptoms.

                                                       17.    On December 6, 2006 plaintiff presented to the SEARHC clinic once again

                                                and stated that he had been experiencing pain and numbness for two weeks and had

                                                difficulty with his urine flow. By that point, plaintiff was unable to walk without crutches.

                                                SEARHC medical providers did not order an MRI to determine the cause of plaintiff’s

                                                complaints and symptoms.
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                                                       18.    On December 7, 2006, plaintiff presented to the SEARHC clinic
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                                                complaining of low back pain and numbness. Medication was prescribed but no MRI was

                                                ordered to ascertain the cause of plaintiff’s complaints and symptoms.

                                                       19.    On December 8, 2006, plaintiff presented to the SEARHC clinic

                                                complaining of low back pain and numbness. Medication was prescribed but no MRI was

                                                ordered to ascertain the cause of plaintiff’s complaints and symptoms.




                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                                    Page 4


                                                    Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 4 of 8
                                                      20.    On December 8, 2006, plaintiff’s chiropractor ordered an MRI to determine

                                                the cause of plaintiff’s complaints and symptoms.

                                                      21.    On December 11, 2006, plaintiff once again presented to the SEARHC clinic

                                                complaining of low back pain and continuous numbness of his buttocks, genitals, and left

                                                leg. Physical therapy was prescribed. SEARHC medical providers did not order an MRI to

                                                determine the cause of plaintiff’s complaints and symptoms.

                                                      22.    On December 12, 2006, plaintiff presented to the SEARHC clinic, where it

                                                was determined that he might be suffering from “significant radiculopathy possible

                                                bordering on a cauda equina syndrome.

                                                      23.    On December 14, 2006, plaintiff had an MRI of his lumbar spine. The MRI

                                                showed severe multi-level degenerative changes of the lumbar spine, multi-level disc

                                                bulges and protrusions and severe spinal stenosis.

                                                      24.    On December 19, 2006, SEARHC medical providers referred plaintiff to
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                                                ANMC for a neurosurgical consultation, evaluation, and treatment.
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                                                      25.    On December 22, 2006, plaintiff was admitted to ANMC with a diagnosis of

                                                severe lumbar spinal stenosis, protracted left lower extremity weakness with pre-cauda

                                                equina type symptoms, and a large L3-4 herniated nucleus pulposus. Plaintiff underwent

                                                multi-level lumbar decompression surgery on the same date.

                                                      26.    On December 26, 2006, plaintiff was diagnosed with an epidural hematoma,

                                                which required evacuation and additional surgery on his lumbar spine.


                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                                Page 5


                                                    Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 5 of 8
                                                       27.    Plaintiff now suffers from permanent paraplegia, neurogenic bladder,

                                                neurogenic bowel, and chronic pain. He cannot walk and he is confined to a wheelchair.

                                                       28.    SEARHC by and through its employees and/or contractors was negligent in

                                                its failure to timely order an MRI and diagnose plaintiff’s condition, which would have

                                                disclosed the severity of plaintiff’s condition. SEARHC also failed to properly evaluate

                                                and treat plaintiff despite his repeated visits to the clinic and his consistent complaints of

                                                pain and numbness. That negligence is a direct and proximate cause of plaintiff’s severe

                                                permanent physical impairment and other damages stated below.

                                                       29.    The ANTHC, Southcentral Foundation, and ANMC by and through its

                                                employees and/or contractors were negligent in their failure to timely diagnose plaintiff’s

                                                condition, as well its failure to appropriately evaluate and treat plaintiff. That negligence

                                                was a direct and proximate cause of plaintiff’s severe permanent physical impairment and

                                                other damages stated below.
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                                                                                          Damages
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                                                       30. Plaintiff re-alleges the allegations stated in Paragraphs 1-29 above.

                                                       31. As a proximate result of the combined negligence of the employees, agents

                                                and/or contractors employed by SEARHC, ANTHC, South Central Foundation and

                                                ANMC, Plaintiff has and will sustain the following damages"

                                                       a. past and future medical expenses;

                                                       b. past lost wages and benefits;


                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                                     Page 6


                                                    Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 6 of 8
                                                       c. future earning capacity, including benefits;

                                                       d. past and future pain and suffering;

                                                       e. past and future disability;

                                                       f. future life care plan expenses.

                                                WHEREFORE, plaintiff, Gary Eddy, prays for relief as follows:

                                                       1.     Compensation for past and future economic losses, including, but not limited

                                                to past and future loss of wages and earning capacity;

                                                       2.     Compensation for past and future medical, health care, and disability related

                                                expenses;

                                                       3.     Compensation for past and future pain and suffering;

                                                       4.     Compensation for loss of past and future enjoyment of life;

                                                       5.     Compensation for past and future inconvenience;

                                                       6.     Compensation for past and future severe permanent physical impairment;
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                                                       7.     Prejudgment Interest, Attorneys Fees and Costs;
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                                                       8.     Such other relief as the Court finds just.

                                                       DATED this 20th day of July, 2010, at Anchorage, Alaska.


                                                                                            WALTHER & FLANIGAN
                                                                                            ATTORNEYS FOR PLAINTIFF

                                                                                            s/ Michael W. Flanigan, ABN #7710114
                                                                                              1029 W. 3rd Ave., Ste 250
                                                                                              Anchorage, Alaska, 99517-1014


                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                                   Page 7


                                                     Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 7 of 8
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                                                Plaintiff's Complaint
                                                Eddy v. U.S.A. Case No. 3:10-cv-_____ [ ]                            Page 8


                                                   Case 3:10-cv-00167-SLG Document 1 Filed 07/20/10 Page 8 of 8
